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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA )
                           )
             v.            )                         Case No. 1:21-CR-117 (TFH)
                           )
RYAN NICHOLS               )
                           )
                Defendant. )

   DEFENDANT’S SUPPLEMENT TO EMERGENCY MOTION FOR IMMEDIATE
       PRETRIAL RELEASE AD REQUEST FOR EMERGENCY HEARING

        Comes now Defendant RYAN NICHOLS, by undersigned counsel, and respectfully

submits this supplement to his Emergency Motion for Immediate Pretrial Release (ECF No. 150).

This supplement serves to bring to the court’s attention an incident that occurred on September 5,

2022, that further demonstrates the mistreatment of the Defendant and other prisoners by the senior

prison staff and adds to the urgency to grant his immediate pretrial release to the custody of his

wife.

        On September 5, 2022, Lieutenant Lancaster, a senior Jail official, entered Nichol’s cell

block at the time when medications were being distributed. Lieutenant Lancaster, who is named

in a petition for writ of habeas corpus filed by Nichols with this Court, was more hostile then usual,

and was barking and yelling orders at the prisoners.

        A fellow pretrial detainee (“Maccabees”), was walking towards the medication cart to

receive his medication, when Lancaster suddenly put her hands out and forcefully pushed

Maccabees’ chest. Maccabees was stunned. Lancaster yelled that he needed to wear a mask. Still

stunned and confused from being pushed, Maccabees said he would put a mask on after he took

his medication. Lancaster said you cannot take your meds until you put on a mask. Frustrated,

Maccabees started to ask again how he was supposed to take his medication with a mask on, but
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before he could finish his sentence, suddenly and unprovoked, Lancaster sprayed Maccabees in

the face with her mace canister. She then told one of the guards to handcuff him. The other

prisoners standing nearby that witnessed the incident, including Nichols, were shocked and

angered and verbally expressed to the guard that Maccabees didn’t do anything and that Lancaster

had pushed Maccabees and sprayed him with mace for no reason. Lancaster said, “No. He

assaulted me.” When she said this, the prisoners standing nearby started verbally yelling that she

was lying. The guard hesitated and looked torn; on the one hand he was given an order by a

superior, but on the other, presumably he had witnessed the event himself and understood what

actually happened.

       At that point, a second officer came into the crowd of prisoners, approached Maccabees,

and calmed him down, defusing the situation. As the atmosphere was cooling, Lancaster suddenly

advanced on Maccabees, grabbed him, twisted his arm behind his back, and threw him against the

wall. This caused a verbal outburst among all of the prisoners present, including Nichols. The

prisoners yelled, “why would you do that?” and “he [the other guard] had it under control!”

Nichols was standing near a group of chairs, and in a spontaneous outburst of frustration, Nichols

pushed one of the chairs to the ground. He did not pick up the chair; he did not push it towards

Lancaster or another guard; he did not advance on anyone, or threaten anyone with words or

gestures. Lancaster sprayed Maccabees again with her mace, and Nichols came into contact with

the spray, getting the harmful chemicals in his eyes and mouth and on his skin. The guards

removed Maccabees and another prisoner. Later, they came back and removed Nichols and

another prisoner.

       Fifteen witnesses have signed statements on behalf of Nichols and Maccabees. Nichols is

being charged with inciting a riot for merely having a spontaneous and very understandable
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reaction to an innocent pretrial detainee being physically abused and sprayed twice in the face with

dangerous chemicals.

       Normal procedure after coming into contact with a chemical spray is for the person to

immediately receive a special detox bath, but Nichols was not permitted to shower for 24 hours,

forcing him to suffer burning, itching, and significant discomfort for that time. After 36 hours he

was examined by medical. They provided him with a special medicated cream and scolded the

staff for not taking him to get the chemical detox bath right away.

       Nichols has since requested psychological help for his PTSD but has not received it. He

was scheduled to be taken to mental health on September 6 and 7, but he was told by the staff,

“Fuck you. You ain’t going to see mental health.” Instead, they took him to the Hole for solitary

confinement. He asked for his mental health medications but they have not brought it.

       He also learned that his attorney client privileged materials and his discovery were

confiscated again, in further violation of his constitutional rights.

       The electronic grievance system has been completely shut off. The staff provided Nichols

with a grievance form written in Spanish and laughed in his face when he could not fill it out. He

asked for a pen to write grievances, but they won’t bring him a pen.

       Nichols is now being moved to general population where he was told that he will be

targeted because of his race and his life is in danger.

       This escalation of unlawful cruel treatment began when Nichols filed his Petition for

Habeas Corpus and is in direct retaliation for it. Lieutenant Lancaster is retaliating because she

was named in the habeas petition for her cruel treatment. Nichols and Maccabees somewhat

resemble one another, and it is plausible that Lancaster’s unprovoked cruel treatment of Maccabees

was intended for Nichols.
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Dated September 8, 2022                             Respectfully submitted,
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                             CERTIFICATE OF SERVICE

I hereby certify on the 11th day of August 2022, a copy of the foregoing was served upon all
parties as forwarded through the Electronic Case Filing (ECF) System.

                                                    /s/ Joseph D. McBride, Esq.
                                                    Joseph D. McBride, Esq.
